                    SIXTH DISTRICT COURT OF APPEAL
                           STATE OF FLORIDA
                          _____________________________

                               Case No. 6D2023-3744
                         Lower Tribunal No. 2018-CF-002147
                          _____________________________

                                LUIS CRUZ-HERNANDEZ,

                                         Appellant,
                                             v.

                                   STATE OF FLORIDA,

                                         Appellee.
                          _____________________________

Appeal Pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Osceola County.
                                Keith A. Carsten, Judge.

                                    August 27, 2024

PER CURIAM.

      AFFIRMED.

WOZNIAK, BROWNLEE and GANNAM, JJ., concur.


Luis Cruz-Hernandez, Bushnell, pro se.

Ashley Moody, Attorney General, Tallahassee, and Whitney Brown Hartless, Assistant
Attorney General, Daytona Beach, for Appellee.


  NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING AND
               DISPOSITION THEREOF IF TIMELY FILED
